Case 7:18-cv-00173-EKD-RSB Document 37 Filed 03/06/19 Page 1 of 2 Pageid#: 189




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                    (Roanoke Division)

    PULASKI CHURCH OF GOD,                      :
                                                :
           Plaintiff,                           :
                                                :
           v.                                   :     Civil Action No.: 7:18-cv-00173-EKD
                                                :
    BROTHERHOOD MUTUAL                          :
    INSURANCE COMPANY, et al.,                  :
                                                :
           Defendants.                          :

                                     DISMISSAL ORDER

           This day came the plaintiff and the defendant, by counsel, and advised the Court

    that they have compromised and settled their differences. Whereupon, on their joint

    motion, it is accordingly

           ORDERED, ADJUDGED, and DECREED that this action be, and the same

    hereby is, DISMISSED WITH PREJUDICE, with each party to pay their own taxable

    court costs.

           Entered: March 6, 2019.



                                                /s/ Elizabeth K. Dillon
                                                Elizabeth K. Dillon
                                                United States District Judge




                                             1 of 2
Case 7:18-cv-00173-EKD-RSB Document 37 Filed 03/06/19 Page 2 of 2 Pageid#: 190




    WE ASK FOR THIS:



    /s/
    Brian A. Cafritz, VSB# 34366
    James L. Hoyle, VSB# 82238
    KALBAUGH PFUND & MESSERSMITH, P.C.
    901 Moorefield Park Drive, Suite 200
    Richmond, Virginia 23236
    (804) 320-6300
    (804) 320-6312 (fax)
    Brian.Cafritz@kpmlaw.com
    Lee.Hoyle@kpmlaw.com
    Counsel for Brotherhood Mutual Insurance Co.


    WE ASK FOR THIS:



    /s/
    Kristopher R. Olin, VSB# 78890
    Spicer, Olin & Associates, PC
    504 South Main Street
    Blacksburg, Virginia 24060
    (540) 552-0007
    (540) 951-5139 (fax)
    kolin@spicerlawfirm.com
    Counsel for Plaintiff

    J. Carlos Canady, Esq.
    CANADY LAW FIRM
    5020 Montrose Boulevard, Suite 800
    Houston, TX 77006
    CCanady@canadylawfirm.com
    Counsel pro hac vice for Plaintiff




                                          2 of 2
